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                    EXHIBIT 3
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Help Center                                                                                                   Using X   Managing your account   Safety and security   Rules and policies   Resources          Sign in                 Contact Us




                                                  Help Center   Safety and cybercrime   Hateful Conduct




                                                  Hateful Conduct
                                                                Overview
                                                                April 2023
                                                                You may not directly attack other people on the basis of race, ethnicity, national origin,
                                                                caste, sexual orientation, gender, gender identity, religious affiliation, age, disability, or
                                                                serious disease.
                                                                X's mission is to give everyone the power to create and share ideas and information,
                                                                and to express their opinions and beliefs without barriers. Free expression is a human
                                                                right – we believe that everyone has a voice, and the right to use it. Our role is to serve
                                                                the public conversation, which requires representation of a diverse range of
                                                                perspectives.
Did someone say … cookies?                                                                                                                                                                                  Accept all cookies
                                                               We recognize that if people experience abuse on X, it can jeopardize their ability to
X and its partners use cookies to provide you with a better, safer  and faster
                                                               express         service and
                                                                         themselves.        to support
                                                                                         Research   has our business.
                                                                                                         shown        Some cookies
                                                                                                                 that some groups are  necessary
                                                                                                                                   of people   are to use our services, improve our
services, and make sure they work properly. Show more aboutdisproportionately
                                                                 your choices                                                                                                                          Refuse non-essential cookies
                                                                                      targeted with abuse online. For those who identify with multiple
                                                                                  .




                                                                underrepresented groups, abuse may be more common, more severe in nature, and
                                                                more harmful.
                                                                We are committed to combating abuse motivated by hatred, prejudice or intolerance,
                                                                particularly abuse that seeks to silence the voices of those who have been historically
                                                                marginalized. For this reason, we prohibit behavior that targets individuals or groups
                                                                with abuse based on their perceived membership in a protected category.
                                                                If   you see something on X that you believe violates this policy, please report it to us .



                                                                What is in violation of this policy?
                                                                We will review and take action against reports of accounts targeting an individual or
                                                                group of people with any of the following behavior, whether within Posts or Direct
                                                                Messages.
                                                                Hateful references

                                                                We prohibit targeting individuals or groups with content that references forms of
                                                                violence or violent events where a protected category was the primary target or victims,
                                                                where the intent is to harass. This includes, but is not limited to media or text that refers
                                                                to or depicts:
                                                                     genocides, (e.g., the Holocaust);
                                                                     lynchings.
                                                                Incitement
                                                                We prohibit inciting behavior that targets individuals or groups of people belonging to
                                                                protected categories. This includes:
                                                                     inciting fear or spreading fearful stereotypes about a protected category, including
                                                                     asserting that members of a protected category are more likely to take part in
                                                                     dangerous or illegal activities, e.g., “all [religious group] are terrorists.”
                                                                     inciting others to harass members of a protected category on or off platform, e.g., “I’m
                                                                     sick of these [religious group] thinking they are better than us, if any of you see
                                                                     someone wearing a [religious symbol of the religious group], grab it off them and post
                                                                     pics!“
                                                                     inciting others to discriminate in the form of denial of support to the economic
                                                                     enterprise of an individual or group because of their perceived membership in a
                                                                     protected category, e.g., “If you go to a [religious group] store, you are supporting
                                                                     those [slur], let’s stop giving our money to these [religious slur].” This may not include
                                                                     content intended as political in nature, such as political commentary or content
                                                                     relating to boycotts or protests.
                                                                Note: content intended to incite violence against a protected category is prohibited
                                                                under Violent Speech .
                                                                Slurs and Tropes

                                                                We prohibit targeting others with repeated slurs, tropes or other content that intends to
                                                                degrade or reinforce negative or harmful stereotypes about a protected category. In
                                                                some cases, such as (but not limited to) severe, repetitive usage of slurs, or racist/sexist
                                                                tropes where the context is to harass or intimidate others, we may require Post removal.
                                                                In other cases, such as (but not limited to) moderate, isolated usage where the context
                                                                is to harass or intimidate others, we may limit Post visibility as further described below.

                                                                Dehumanization
                                                                We prohibit the dehumanization of a group of people based on their religion, caste, age,
                                                                disability, serious disease, national origin, race, ethnicity, gender, gender identity, or
                                                                sexual orientation.
                                                                Hateful Imagery
                                                                We consider hateful imagery to be logos, symbols, or images whose purpose is to
                                                                promote hostility and malice against others based on their race, religion, disability,
                                                                sexual orientation, gender identity or ethnicity/national origin. Some examples of hateful
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                           imagery include, but are not limited to:
                                symbols historically associated with hate groups, e.g., the Nazi swastika;
                                images depicting others as less than human, or altered to include hateful symbols,
                                e.g., altering images of individuals to include animalistic features; or
                                images altered to include hateful symbols or references to a mass murder that
                                targeted a protected category, e.g., manipulating images of individuals to include
                                yellow Star of David badges, in reference to the Holocaust.
                           Media depicting hateful imagery is not permitted within live video, account bio, profile or
                           header images. All other instances must be marked as sensitive media. Additionally,
                           sending an individual unsolicited hateful imagery is a violation of this policy.
                           Hateful Profile
                           You may not use hateful images or symbols in your profile image or profile header. You
                           also may not use your username, display name, or profile bio to engage in abusive
                           behavior, such as targeted harassment or expressing hate towards a person, group, or
                           protected category.

                           Do I need to be the target of this content for it to
                           be a violation of the X Rules?
                           Some Posts may appear to be hateful when viewed in isolation, but may not be when
                           viewed in the context of a larger conversation. For example, members of a protected
                           category may refer to each other using terms that are typically considered as slurs.
                           When used consensually, the context behind these terms is not abusive, but a means to
                           reclaim terms that were historically used to demean individuals.
                           When we review this type of content, it may not be clear whether the context is to abuse
                           an individual on the basis of their protected status, or if it is part of a consensual
                           conversation. To help our teams understand the context, we sometimes need to hear
                           directly from the person being targeted to ensure that we have the information needed
                           prior to taking any enforcement action.
                           Note: individuals do not need to be a member of a specific protected category for us to
                           take action. We will never ask people to prove or disprove membership in any protected
                           category and we will not investigate this information.

                           What happens                  if   you violate this policy?
                           Under this policy, we take action against behavior that targets individuals or an entire
                           protected category with hateful conduct, as described above. Targeting can happen in a
                           number of ways, for example, mentions, including a photo of an individual, referring to
                           someone by their full name, etc.
                           When determining the penalty for violating this policy, we consider a number of factors
                           including, but not limited to the severity of the violation and an individual’s previous
                           record of rule violations. The following is a list of potential enforcement options for
                           content that violates this policy:
                                Making content less visible on X by:
                                  Removing the Post from search results, in-product recommendations, trends,
                                  notifications, and home timelines
                                 Restricting the Post discoverability to the author’s profile
                                 Downranking the Post in replies
                                 Restricting Likes, replies, Reposts, Quote, bookmarks, share, pin to profile, or
                                 engagement counts
                                 Excluding the Post from having ads adjacent to it
                                Excluding Posts and/or accounts in email or in-product recommendations.
                                Requiring Post removal.
                                  For example, we may ask someone to remove the violating content and serve a
                                  period of time in read-only mode before they can Post again.
                                Suspending accounts that violate our Hateful Profile policy.
                           Learn more about our range of enforcement options .
                           If   someone believes their account was suspended in error, they can submit an appeal .




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                                  Post




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     Status                       Company news                 Using X                         Documentation          X for business
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